                       Case 1:23-cr-00070-CJN Document 1 Filed 02/24/23 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.
                   Jesse James Rumson
                                                                     )
                     DOB: XXXXXX                                     )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                                          in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

           Code Section                                               Offense Description
      18 U.S.C. § 111(a)(1)- Assaulting, Resisting, or Impeding Certain Officers
      18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder
      18 U.S.C. § 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds
      18 U.S.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds
      18 U.S.C. § 1752(a)(4)- Engaging in Physical Violence in a Restricted Building or Grounds
      40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building
      40 U.S.C. § 5104(e)(2)(F)- Act of Physical Violence in the Capitol Grounds or Buildings
      40 U.S.C. § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in a Capitol Building

         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV



         9
         u Continued on the attached sheet.


                                                                                                Complainant’s signature

                                                                                               Brian Smith, Special Agent
                                                                                                 Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH                                                                                                   Digitally signed by Moxila A.
                                                                                                                Upadhyaya
                                                                                                                Date: 2023.02.24 13:17:54
Date:                                                                                                           -05'00'
                  02/24/2023
                                                                                                   Judge’s signature

City and state:                         :DVKLQJWRQ'&                          Moxila A. Upadhyaya, U.S. Magistrate Judge
                                                                                                 Printed name and title
